 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Timothy G Parker,                                No. CV-16-02406-PHX-SRB
10                 Plaintiff,                         ORDER
11   v.
12   Healthcare Revenue Recovery Group LLC,
     et al.,
13
                   Defendants.
14
15          Plaintiff and Defendant Healthcare Revenue Recovery Group, LLC having
16   stipulated to dismissal of this action with prejudice, and good cause appearing,
17          IT IS HEREBY ORDERED dismissing this action in its entirety with prejudice,
18   each party to bear its own attorney’s fees and costs.
19
20          Dated this 28th day of November, 2016.
21
22
23
24
25
26
27
28
